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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division


  VALARIE J. TORRES,

                        Plaintiff,

  v.                                                        Civil Action No. 3:21-cv-1-EKD

  RECTOR AND BOARD OF VISITORS OF
  THE UNIVERSITY OF VIRGINIA,

                        Defendants.


                    JOINT MOTION TO ENTER PROTECTIVE ORDER

        The parties, by counsel, jointly move the Court to enter an agreed Protective Order,

 pursuant to Rule 26(c) of the Federal Rules of Civil Procedure. The agreed Protective Order is

 attached to this Motion as Exhibit A.

        The parties waive a hearing on this Joint Motion.

                                             Respectfully submitted,


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                                    Counsel for Plaintiff, Valarie J. Torres




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on September 16, 2022, I electronically filed the foregoing with the

 Clerk of the Court using the CM/ECF system, which will deliver a notice of electronic filing to all

 counsel of record in this case.


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